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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION
                              CASE NO: 19-CV-80825-DMM

  JENNIFER QUASHA, on behalf of her
  son, H.Q., a minor

         Plaintiffs
  vs.

  CITY OF PALM BEACH GARDENS, FLORIDA

        Defendants
  ______________________________________/

   REPLY TO RESPONSE TO UNOPPOSED MOTION FOR VOLUNTARY DISMISSAL

         COMES NOW Plaintiff, JENNIFER QUASHA, on behalf of her son, H.Q., by and though

  the undersigned counsel, and replies to the Defendant, CITY OF PALM BEACH GARDENS,

  FLORIDA, and states that the Plaintiff was relying on Rule 41(2) – which states as follows:

         (2) By Court Order; Effect. Except as provided in Rule 41(a)(1), an action may be
         dismissed at the plaintiff's request only by court order, on terms that the court
         considers proper. …. Unless the order states otherwise, a dismissal under this
         paragraph (2) is without prejudice.

         While the correspondence between parties is irrelevant and unnecessary, including whether

  the undersigned was going to withdraw. However, on January 7, 2020, at 10:17 AM, Mr.

  Alexander stated:

         The City does not agree to any stipulation or settlement as it relates to the lawsuit;
         however, Plaintiff may move to dismiss as set forth in Rule 41, Fed.R.Civ.P. If
         you have any questions, do not hesitate to contact me.

  Accordingly, this is what the Plaintiff has done.

         Respectfully Submitted on this 8th day of January, 2020

                                        By: /s/ Matthew W. Dietz
                                        Matthew W. Dietz, Esq.
                                        Florida Bar No. 0084905



    Disability Independence Group, Inc. * 2990 Southwest 35th Avenue * Miami, Florida 33133
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 8, 2020, I electronically filed the foregoing with the

  Clerk of the Court by using the CM/ECF system which will send notice of electronic filing to all

  parties and counsel of record in the herewith service list, or in some other authorized manner for

  those counsel or parties who are not authorized to receive notices electronically.

                                        DISABILITY INDEPENDENCE GROUP, INC.
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                                        Miami, Florida 33133
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                                        By: s/ Matthew W. Dietz
                                        MATTHEW W. DIETZ, ESQ.
                                        Florida Bar No.: 0084905




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